
659 S.E.2d 734 (2008)
LAMAR OCI SOUTH CORPORATION, d/b/a Lamar Advertising of Asheville
v.
STANLY COUNTY ZONING BOARD OF ADJUSTMENT and Stanly County.
No. 485A07.
Supreme Court of North Carolina.
March 6, 2008.
Robert C. Stephens, Charlotte, Mark R. Kutny, Joshua J. Morton, Jr., for Stanly County, et al.
Craig D. Justus, Asheville, for Lamar OCI South Corp.
Prior report: ___ N.C.App. ___, 650 S.E.2d 37.

ORDER
Upon consideration of the petition filed on the 23rd day of October 2007 by Petitioner in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 6th day of March 2008."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
